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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LINE CONSTRUCTION FUND, )
A HEALTH AND WELFARE FUND, )
)
PLAINTIFF, )
)
)
v. )
)
)
GREEN ENERGY FOUNDATIONS LLC., )
a MINNESOTA LIMITED LIABILITY )
COMPANY, )
)
DEFENDANT. )
COMPLAINT

Plaintiff, LINE CONSTRUCTION BENEFIT FUND, A HEALTH AND WELFARE
FUND, by and through its Attorneys, Robert B. Greenberg, Matthew S. Jarka, and Sam W.
Hensel of Asher, Gittler, & D’ Alba, Ltd., and complaining of Defendant, GREEN ENERGY
FOUNDATIONS, LLC, a Minnesota Limited Liability Company (“Defendant”), states as
follows:

1. This action is brought under the provisions of Sections 502(g)(2) and 502(a)(3), of the
Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C., Secs.
1132(g)(2), (a)(3), and 1145.

2. Jurisdiction in this Court is based upon Sections 502(e)(1) and 502(e)(2) of ERISA [29
U.S.C. Sec. 1132(e)(1) and (e)(2)], which states in relevant part:

Where an action under this subchapter is brought in a district court of the United States, it
may be brought in the district where the plan is administered, where the breach took

place, or where a defendant resides or may be found, and process may be served in any
other district where a defendant resides or may be found.
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. The LINE CONSTRUCTION BENEFIT FUND, A HEALTH AND WELFARE FUND
(“Fund”) receives contributions from numerous employers pursuant to collective
bargaining agreement heretofore entered into between the IBEW Local Union 44
(“Union”) and Defendant, and the Fund is maintained and administered in accordance
with and pursuant to the provisions of Section 302(c)(5) of the National Labor Relations
Act, as amended, ERISA and other applicable federal law. The Fund is administered
pursuant to the terms and provisions of a certain Restated Agreement and Declaration of
Trust (“Trust Agreement.”)

. The Fund is located at 821 Parkview Blvd., Lombard, IL 60148-3230, and the Fund is
administered in the Northern District of Illinois.

. As provided in the Trust Agreement, the Fund is required to receive, hold, and manage all
monies required to be contributed to the Fund in accordance with the provisions of the
then applicable Collective Bargaining Agreement for the uses and purposes set forth in
the Trust Agreement.

. Defendant is an employer engaged in an industry affecting commerce and maintains its
principal place of business at 8443 187th Ave. NE in New London, Minnesota 56273.

. Defendant employs or has employed persons represented for collective bargaining
purposes by the Union and agreed to be bound by the Collective Bargaining Agreement
or agreements referred to herein, by the terms of which Defendant was required to
contribute to the Fund.

. The Fund is advised and believes that Defendant has repeatedly failed to submit accurate

contribution reports and the required payments thereon to the Fund pursuant to the terms
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10.

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of the Collective Bargaining Agreement by which it was bound, all in violation of its
contractual obligations and its obligations under applicable federal statutes.

As a result of the above-described omissions and breaches of agreement by Defendant,
Plaintiff may be required to (a) deny the employee beneficiaries for whom contributions
have not been made the benefits provided under the benefit plan, thereby causing to such
employee beneficiaries substantial and irreparable damage, or (b) to provide to
employees of Defendant the benefits provided under the benefit plan, notwithstanding
Defendant’s failure to make the required contributions thereto, thereby reducing the
corpus of such Fund and endangering the rights of the employee beneficiaries thereunder
on whose behalf contributions are being made, all to their substantial and irreparable
injury.

The Fund, in its behalf, and on behalf of all employees for whose benefit the Fund was
established, has requested Defendant to perform its obligations, but Defendant has
refused and failed to perform as herein alleged.

The Fund is without an adequate remedy at law and will suffer immediate, continuing,
and irreconcilable injury and damage unless Defendant is ordered to specifically perform
all of its obligations required under the Collective Bargaining Agreement and the Trust
Agreement, and is restrained from continuing to refuse to perform as thereunder required.
Defendant is delinquent to the Fund for the period of February 2019 through July 2019,
in the estimated amount of $20,187.62.

Defendant’s failure to pay is a violation of the Collective Bargaining Agreement and the

Trust Agreement. The Fund, therefore, seeks enforcement of these provisions pursuant to
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Section 502(a)(3), (b)(ii) and Section 301(a) of the Labor Management Relations Act of

1947, as amended, 29 U.S.C., Sec. 185(a).

WHEREFORE, Plaintiff prays:

(a) That judgment enter in favor of Plaintiff and against Defendant in the amount of
TWENTY-THOUSAND ONE HUNDRED EIGHTY-SEVEN AND 62/00
DOLLARS ($20,187.62), and such additional monies that accrue during the pendency
of this lawsuit.

(b) That Plaintiff be awarded its costs, including reasonable attorney’s fees incurred in
the prosecution of this action as provided in the Collective Bargaining Agreement and
under the applicable provisions of ERISA, as amended.

(c) That interest and/or liquidated damages be assessed against Defendant as provided in
the Collective Bargaining Agreement and the applicable provisions of ERISA, as
amended.

(d) That Defendant be specifically ordered to furnish to Plaintiff the required monthly
contribution reports and payments due thereunder and to continue to perform all
obligations on Defendant’s parts according the terms and conditions of their
Collective Bargaining Agreement.

(e) For such other and further relief as the Court may determine just and proper.

/s/ Robert B. Greenberg

Asher, Gittler & D’ Alba, Ltd.

200 West Jackson Blvd., Suite 720
Chicago, Illinois 60606

(312) 263-1500 — Fax: (312) 263-1520

rbg@ulaw.com
IL ARDC #: 01047558
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/s/ Sam Hensel

Asher, Gittler & D’ Alba, Ltd.

200 West Jackson Blvd., Suite 720
Chicago, Illinois 60606

(312) 263-1500 — Fax: (312) 263-1520
sh@ulaw.com

IL ARDC#: 6332797

 

 

/s/ Matthew S. Jarka

Asher, Gittler & D’Alba, Ltd.

200 West Jackson Blvd., Suite 720
Chicago, Illinois 60606

(312) 263-1500 — Fax: (312) 263-1520

msj@ulaw.com
IL ARDC#: 6322603

 
